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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

use and benefit of AJ ACOSTA
COMPANY, INC., a California

COMPANY
Plaintiff,

VS.

ALLSTATE ENGINEERING, a California

COMPANY, a South Dakota corporation, TRIAL

Defendants.

 

AND RELATED COUNTERCLAIM

 

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STATEMENT OF THE CASE

 

UNITED STATES OF AMERICA, for the) CASE NO. CV13-01438-DDP

STATEMENT OF THE CASE BY
corporation ALLSTATE ENGINEERING
° AND WESTERN SURETY

i PRE-TRIAL CONF. : 10/21/2019
corporation, WESTERN SURETY 10/29/2019

JUDGE: Hon. Dean D. Pregerson

 
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Please take notice that, Defendant and Counterclaimant ALLSTATE
ENGINEERING and Defendant WESTERN SURETY COMPANY provides the
following Statement of the Case:

The Plaintiff is Joaquin Andres Acosta. The Defendants are Allstate Engineering and
Western Surety Company. The Plaintiff Joaquin Andres Acosta is represented by attorney
James Diefenbach. The Defendant Allstate Engineering is represented by attorney Jeffrey
Horowitz. The Defendant Western Surety Company is represented by Craig Guenther.

This is a case about a subcontractor hired by a general contractor to do concrete
crushing work on a United States military base.
The Attorneys for each of the parties will explain the facts and law relating to

their positions in their opening statements and in their presentation of evidence.

Dated: October I? , 2019 THE HOROWITZ LAW FIRM

Q~- uae eee
By: Jeffrey D. Horowitz, Esq.

Attorney for Defendant and Counterclaimant
ALLSTATE ENGINEERING

 

Dated: October 18, 2019 BOOTH, MITCHEL & STRANGE, LLP

/S/ Craig E. Guenther

By: Craig E. Guenther, Esq.
Attorney for Defendant
WESTERN SURETY COMPANY

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STATEMENT OF THE CASE

 

 

 
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on October 18, 2019, a true and correct
copy of the foregoing STATEMENT OF THE CASE BY ALLSTATE
ENGINEERING AND WESTERN SURETY COMPANY was served on all
parties and counsel of record via CM/ECF.

ee a |
Dated: October (/, 2019 f= 2 ©
By: Jeffrey D. Horowitz, Esq.

Attorney for Defendant and Counterclaimant
ALLSTATE ENGINEERING

 

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STATEMENT OF THE CASE

 

 
